                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )      NO. 3:14-00059
                                                 )      JUDGE CAMPBELL
JESUS ARAGON and BRANDON NGUYEN                  )

                                          ORDER

        The pretrial conference and/or change of plea hearing scheduled for June 2, 2014, is

RESCHEDULED for June 9, 2014, at 4:30 p.m.

        It is so ORDERED.

                                                 ____________________________________
                                                 TODD J. CAMPBELL
                                                 UNITED STATES DISTRICT JUDGE




     Case 3:14-cr-00059     Document 27     Filed 05/15/14    Page 1 of 1 PageID #: 38
